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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION


IN RE:                                               :              CHAPTER 7
                                                     :
BOBBY MANALCUS WILBANKS,                             :              CASE NO. 10-60990-WLH
KIMBERLY ANN WILBANKS                                :
                                                     :
         Debtors.                                    :


               TRUSTEE’S APPLICATION FOR FINAL COMPENSATION
                     OF SPECIAL COUNSEL AND REQUEST
                 FOR AUTHORIZATION TO PAY COMPENSATION

         COMES NOW S. Gregory Hays, Chapter 7 Trustee (“Trustee”) for the bankruptcy estates

(collectively, the “Bankruptcy Estate”) of Bobby Manalcus Wilbanks and Kimberly Ann Wilbanks

(collectively, “Debtors”), by and through undersigned counsel, and files Trustee’s Application for

Final Compensation of Special Counsel and Request for Authorization to Pay Compensation (the

“Application”) seeking allowance of final compensation of $29,901.76 (or 40% of the gross

settlement amount of $80.000.00), and respectfully shows this Court the following:

                                    Jurisdiction and Venue

       1.    This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This is a

core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A) and (O). Venue is proper pursuant to

28 U.S.C. §§ 1408 and 1409(a).

                                           Background

                                     a. General Background

       2.    On January 12, 2010 (“Petition Date”), Debtors filed a voluntary petition for relief

under Chapter 7 of Title 11 of the United States Code, and initiated Case No. 10-60990-WLH (the

“Bankruptcy Case”). On May 20, 2010, the Court entered an Order Discharging Chapter 7



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Debtors. [Doc. No. 19]. On September 6, 2013, the Court entered an Order Discharging Debtors and

Closing Estate. [Doc No. 51]. Barbara B. Stalzer was appointed to the Bankruptcy Case as the

interim Chapter 7 trustee on or about the Petition Date, under 11 U.S.C. § 701(a)(1).

       3.    On June 14, 2018, the United States Trustee filed a motion to reopen the Bankruptcy

Case so that an unscheduled personal injury or product liability claim of Mrs. Wilbanks related to

the use of pelvic mesh (the “Claim”) could be administered for the benefit of Debtors’ creditors

[Doc No. 53]. On June 18, 2018, the Court entered an order reopening the case. [Doc. No. 57].

       4.    On June 26, 2018, Trustee was appointed as successor Chapter 7 Trustee and remains

in that role. [Doc No. 59].

       5.    On July 20, 2018, after the Court reopened the Bankruptcy Case, Debtors scheduled

the Claim in the amounts of $80,000.00 and $13,000.00 as joint property of both Debtors. [Doc.

No 61 at page 3 of 8]. Upon information and belief, Mrs. Wilbanks and Mr. Wilbanks were both

named plaintiffs in the civil Complaint and are both owners of the Claim.

       6.    On August 10, 2018, Trustee filed his Application to Appoint Attorney for Trustee

[Doc. No. 62], and the Court entered an Order [Doc. No. 63] on August 15, 2018 appointing Arnall

Golden Gregory LLP as attorneys for Trustee.

                                          b. The Claim

       7.    At the commencement of the Bankruptcy Case, bankruptcy estates were created for

each of Debtors under 11 U.S.C. § 541(a) (collectively, the “Bankruptcy Estate”), and that

Bankruptcy Estate includes all Debtors’ legal or equitable interests in property as of the

commencement of the Bankruptcy Case and any interest in property acquired after commencement

of the case. 11 U.S.C. § 541(a)(1) and (7) (2016).

       8.    The Claim is property of the Bankruptcy Estate.




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       9.     On January 10, 2020, Trustee filed his Application to Employ Ford & Associates

Nationwide Legal Services, APC, Goldwater Law Firm, And Bertram & Graf, LLC As Special

Counsel For Trustee [Doc. No. 71], and the Court entered an Order [Doc. No. 72] on January 15,

2020 authorizing the retention of Ford & Associates Nationwide Legal Services, APC (“Ford”),

Goldwater Law Firm (“Goldwater”), and Bertram & Graf, LLC (“B&G”, together with Ford and

Goldwater, “Special Counsel”) as special counsel for Trustee.

                      c. The Proposed Settlement along with Fees and Expenses

       10.    Following negotiations, and subject to the approval of this Court, the Claim has been

settled (the “Settlement”).1

       11.    The gross Settlement award is $80,000.00.

       12.    On or about December 22, 2015, Debtors entered into a representation agreement with

Special Counsel (the “Contract”), to pursue the Claim. The Terms of this Contract, subject to a few

changes, was approved by the Court in the Court’s Order [Doc. No. 72]. The Contract provides that

Special Counsel will be paid a fee of forty percent (40%) of the gross amount less expenses, paid as

settlement proceeds2 or as satisfaction of any judgment as compensation for legal services rendered

in connection with the Claim split as follows.

                      Ford & Associates Nationwide Legal Services, APC                 33%      $9,867.58

                      Goldwater Law Firm                                               22%      $6,578.39

                      Bertram & Graf, LLC                                              45%     $13,455.79

                                                TOTAL                                 100% $29,901.76


1
        Contemporaneously with the filing of this fee application, Trustee has filed a Motion for Approval of
Settlement of Product Liability Claim under Rule 9019 of the Federal Rules of Bankruptcy Procedure and Request to
Make Certain Payments in Accordance with Same (the “Settlement Motion”).

2
 2.00% of the gross Settlement award ($1,600.00) has been deducted from Special Counsel’s fee as part of the
court-ordered MDL Assessment.


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       13.   If approved by the Court, Special Counsel will be reimbursed for actual expenses in

the amount of $541.52, which consists of $433.42 (Special Master Fee) and $108.10 (Wave Costs),

incurred in its representation of the Bankruptcy Estate in settling the Claim. Special Counsel

incurred the Special Master Fee for the court-appointed Settlement Master, Cathy Yanni of JAMS,

Inc. Wave costs are litigation expenses incurred by Special Counsel for cases ordered by the court

to proceed with litigation. These costs were necessary in order for there to be a settlement. These

costs were divided equally among the 264 clients in the settlement.

       14.   If approved by the Court, the following additional expenses will be paid from the gross

Settlement award:

 MDL Fee (3.00% of gross Settlement award
                                                                      $4,000.00
 deducted from net recovery and 2.00%
 deducted from Special Counsel Fees)
 Satisfaction of Medical Liens                                        $1,919.80
 QSF Administrative Expenses                                          $1,404.08


       15.   As a result, the Bankruptcy Estate will have available for distribution under 11 U.S.C.

§ 726 the remaining $42,232.84, calculated as follows:

                                  Gross Settlement                    $80,000.00

                            Satisfaction of Medical Liens        $1,919.80
                                      MDL Fee                    $4,000.00
                          Special Counsel Attorney’s Fees       $29,901.76
                     Case Expenses (Special Counsel Expenses)     $541.52
                    Case Expenses (QSF Administrative Expenses) $1,404.08

                                    Net to Estate                     $42,232.84




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                              Relief Requested and Basis for Same

       16.   Trustee requests an order from the Court approving as a final fee award the fees and

expenses of Special Counsel in the amounts of $29,901.76 and $541.52, respectively, and authorizing

Trustee to pay the same through the Settlement Fund Trustee.

       17.   Trustee respectfully shows that the final compensation requested by Special Counsel

satisfies the standards and guidelines set forth in Johnson v. Georgia Highway Express, 488 F.2d 714

(5th Cir. 1974), and In Re First Colonial Corporation, 544 F.2d 1291 (5th Cir. 1977), as amplified by

Norman v. Housing Authority of City of Montgomery, 836 F.2d 1292 (11th Cir. 1988).

        WHEREFORE, Trustee requests that this Court grant the Application and approve the

compensation and expenses of Special Counsel in the amounts of $29,901.76 and $541.52,

respectively, as full and final compensation for representation in litigating the Claim.

        Respectfully submitted this 2nd day of February, 2021.

                                              ARNALL GOLDEN GREGORY LLP
                                              Attorneys for Trustee

                                              By:/s/ Michael J. Bargar
                                                  Michael J. Bargar
                                                  Ga. Bar No. 645709
                                              Arnall Golden Gregory, LLP
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                                  CERTIFICATE OF SERVICE

        This is to certify that I have this day served copy of the Trustee’s Application for Final

Compensation of Special Counsel and Request for Authorization to Pay Compensation by depositing

in the United States mail a copy of same in a properly addressed envelope with adequate postage

affixed thereon to assure delivery to:

                                 Office of the United States Trustee
                                 362 Richard B. Russell Building
                                 75 Ted Turner Drive, SW
                                 Atlanta, GA 30303

                                 S. Gregory Hays
                                 Hays Financial Consulting, LLC
                                 2964 Peachtree Road, Suite 555
                                 Atlanta, GA 30305

                                 Karen Scott Greene
                                 Karen Scott Greene, PC
                                 PO Box 390322
                                 Snellville, GA 30039

                                 Bobby Manalcus Wilbanks
                                 426 Ellington Road
                                 Oxford, GA 30054

                                 Kimberly Ann Wilbanks
                                 426 Ellington Road
                                 Oxford, GA 30054


        This 2nd day of February, 2021.

                                                      /s/ Michael J. Bargar
                                                      Michael J. Bargar
                                                      Georgia Bar No. 645709




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